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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                 )
 NBC 7 SAN DIEGO, et al.,                        )
                                                 )
                Plaintiffs,                      )
        v.                                       )              Civil Action No. 19-1146 (RBW)
                                                 )
 UNITED STATES DEPARTMENT OF                     )
 HOMELAND SECURITY, et al.,                      )
                                                 )
                Defendants.                      )
                                                 )

                                              ORDER

       In accordance with the oral rulings issued by the Court at the motion hearing held on

January 4, 2021, it is hereby

       ORDERED that, on or before January 29, 2021, the defendant United States Customs

and Border Protection shall provide to the plaintiffs a sample of the relevant searches of at least

500 pages. It is further

       ORDERED that, on or before February 5, 2021, the parties shall meet and confer to

discuss specific proposals to address the breadth of the relevant searches and file a joint status

report advising the Court of those discussions. It is further

       ORDERED that, on February 9, 2021, at 2:00 p.m., the parties shall appear before the

Court for a status conference via teleconference by calling 1-877-873-8017 and entering the

Court's access code (8583213) followed by the pound key (#).

       SO ORDERED this 18th day of January, 2021.


                                                                REGGIE B. WALTON
                                                                United States District Judge
